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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA                           *
                                                       *                    GLR
            v.                                         *      CRIMINAL     N:     ~   1 2 CR 0 3 0 6
                                                       *
    JA YAD ZAINAB ESTER CONTEH, and                    *      (Conspiracy to Commit Bank Fraud,
    PAUL ANTHONY WILSON,                               *      18 U.S.c. ~ 1349; Bank Fraud,
                                                       *      18 U.S.c. ~ 1344; Aggravated Identity
                    Defendants                         *      Theft, 18 U.S.C. ~ 1028A; Exceeding
                                                       *      Authorized Access on Protected
                                                       *      Computer, 18 U.S.c. ~ 1030(a)(2)(A);
                                                       *      Aiding and Abetting, 18 U.S.c. ~ 2;
                                                       *      Forfeiture, 18 U.S.c. ~ 982)
                                                       *
                                                   *******
                                              INDICTMENT

                                              COUNT ONE

           The Grand Jury for the District of Maryland charges that:

                                               Introduction

           At all times relevant to this Indictment:

            1.      Capital One Bank (USA), NA ("Capital One") and SunTrust Bank ("SunTrust")

    were financial institutions whose deposits were insured by the Federal Deposit Insurance

    Corporation (collectively "the financial institutions"). The computer systems of the financial

    institutions were "protected computers" as defined in Title 18, United States Code, Section

    I030(e)(2).

           2.       Defendant JAY AD ZAINAB ESTER CONTEH ("CONTEH")                     was employed

    as a teller at the Capital One branch located at 8315 Georgia Avenue, Silver Spring, Maryland.

           3.       Defendant PAUL ANTHONY WILSON was a resident of Washington, D.C.
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                                         The Conspiracy

       4.       From a time unknown to the Grand Jury until at least in or about April 2012, in

the District of Maryland and elsewhere, the defendants,

                           JAY AD ZAINAB ESTER CONTEH, and
                                PAUL ANTHONY WILSON,

did unlawfully, knowingly and willfully conspire, combine, confederate and agree with other

persons known and unknown to the Grand Jury to knowingly devise a scheme and artifice to

defraud the financial institutions, and to obtain money and property owned by and under the

custody and control of the financial institutions, by means of materially false and fraudulent

pretenses, representations, and promises, and material omissions, in violation of Title 18, United

States Code, Section 1344 ("the scheme to defraud").

                Manner and Means of the Conspiracy and Scheme to Defraud

       The manner and means of committing the conspiracy and scheme to defraud included the

following:

       5.       It was part of the conspiracy and scheme to defraud that defendant CONTEH,

without authorization, accessed confidential computerized account information at Capital One

and obtained the names, dates of birth, social security numbers, and other means of identification

of account-holders.

        6.      It was further part of the conspiracy and scheme to defraud that defendant

CONTEH disclosed the account-holders' confidential information to coconspirators.

       7.       It was further part of the conspiracy and scheme to defraud that defendant

WILSON, using the alias Anthony Johnson, wrote checks on the victims' accounts, payable to



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himself, and cashed the checks at branches of Capital One in Prince George's County, Charles

County, and Montgomery County, Maryland.

                                            Overt Acts.

       8.       In furtherance of the conspiracy and to effect the objects of the conspiracy,

defendants CONTEH, WILSON and coconspirators known and unknown to the Grand Jury

committed and caused to be committed at least one of the following acts, among others, in the

District of Maryland and elsewhere:

                A.      On or about March 1,2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxx3907 in

the name of PX.

                B.      On or about March 8, 2012, defendant CONTER, without authorization,

accessed confidential account information relating to Capital One account number xxxxx820 1 in

the name ofR.C.

                C.      On or about March 20, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxxx8956

in the name of M.B.

                D.      On or about March 20, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxx91 07 in

the name of A.D.




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              E.      On or about March 22, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxxx6988

in the name ofRJ.

              F.      On or about April 2, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxxx4482

in the name ofE.Q.

              G.      On or about April 3, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxxx4482

in the name of E.Q.

              H.      On or about AprilS, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxx4482 in

the name ofE.Q.

               1.     On or about AprilS, 2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxxxx4449

in the name ofG.W.

              J.      On or about AprilS, 2012, defendant WILSON, using the alias Anthony

Johnson, cashed check 407 drawn on Capital One account number xxxxxx4482 in the name of

E.Q., payable to Anthony Johnson, in the amount of $5,600.00, at a Capital One branch in Fort

Washington, Maryland.

               K.     On or about AprilS, 2012, defendant WILSON, using the alias Anthony

Johnson, cashed check 409 drawn on Capital One account number xxxxxx4482 in the name of




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E.Q., payable to Anthony Johnson, in the amount of$7,100.00, at a Capital One branch in

LaPlata, Maryland.

                 L.      On or about April 5,2012, defendant WILSON, using the alias Anthony

Johnson, cashed check 411 drawn on Capital One account number xxxxxx4482 in the name of

E.Q., payable to Anthony Johnson, in the amount of $6,400.00, at a Capital One branch in

Silver Hill, Maryland.

                 M.      On or about April 5,2012, defendant WILSON, using the alias Anthony

Johnson, cashed check 412 drawn on Capital One account number xxxxxx4482 in the name of

E.Q., payable to Anthony Johnson, in the amount of $6,600.00, at a Capital One branch in

District Heights, Maryland.

                 N.      On or about April 11,2012, defendant CONTEH, without authorization,

accessed confidential account information relating to Capital One account number xxxx8790 in

the name of Y.K.




18 U.S.C.   S   1349




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                                 COUNTS TWO THROUGH FIVE

       The Grand Jury for the District of Maryland further charges that:

        1.        Paragraphs 1 through 3 and 5 through 8 of Count One are incorporated here and

constituted a scheme to defraud as defined in paragraph 4 of Count One.

       2.         On or about the dates set forth below, in the District of Maryland and elsewhere,

the defendants,

                             JAYAD ZAINAB ESTER CONTEH, and
                                 PAUL ANTHONY WILSON,

did knowingly and willfully execute and attempt to execute the scheme to defraud as follows:


       COUNT                  DATE                           DESCRIPTION

              2            April 5,2012        Cashed and caused to be cashed check 407
                                               drawn on Capital One account number
                                               xxxxxx4482 in the name of E.Q., payable to
                                               Anthony Johnson, in the amount of
                                               $5,600.00, at a Capital One branch in Fort
                                               Washington, Maryland.

              3            April 5,2012        Cashed and caused to be cashed 409 drawn
                                               on Capital One account number xxxxxx4482
                                               in the name ofE.Q., payable to Anthony
                                               Johnson, in the amount of$7,100.00, at a
                                               Capital One branch in LaPlata, Maryland.

              4            April 5,2012        Cashed and caused to be cashed check 411
                                               drawn on Capital One account number
                                               xxxxxx4482 in the name ofE.Q., payable to
                                               Anthony Johnson, in the amount of
                                               $6,400.00, at a Capital One branch in Silver
                                               Hill, Maryland.




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      COUNT               DATE                      DESCRIPTION

             5         April 5,2012   Cashed and caused to be cashed check 412
                                      drawn on Capital One account number
                                      xxxxxx4482 in the name of E.Q., payable to
                                      Anthony Johnson, in the amount of
                                      $6,600.00, at a Capital One branch in District
                                      Heights, Maryland.




18 U.S.C.   S 1344
18 U.S.C.   S2




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                                           COUNT SIX

       The Grand Jury for the District of Maryland fm1her charges that:

        1.       Paragraphs 1 through 3 and 5 through 7 and paragraph 8, Overt Acts Hand J

through M of Count One are incorporated here.

       2.        On or about April 5,2012, in the District of Maryland and elsewhere, the

defendants,

                            JA YAD ZAINAB ESTER cONTEH, and
                                 PAUL ANTHONY WILSON,

did knowingly, transfer, possess and use, without lawful authority, a means of identification of

another person, that is, the name, address and bank account number of E.Q., during and in

relation to a felony violation, that is, conspiracy to commit bank fraud, in violation of Title 18,

United States Code, Section 1349, as charged in Count One of this Indictment, and bank fraud, in

violation of Title 18, United States Code, Section 1344, as charged in Counts Two through Five

of this Indictment.




18 U.S.C.     S 1028A
18 U.S.C.     S2




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                                         COUNT SEVEN

       The Grand Jury for the District of Maryland further charges that:

        1.       Paragraphs 1, 3, and 7 of Count One are incorporated here.

       2.        On or about April 4, 2012, in the District of Maryland and elsewhere, the

defendant,

                                   PAUL ANTHONY WILSON,

did knowingly and willfully execute and attempt to execute a scheme to defraud SunTrust Bank,

a financial institution, and to obtain money and property under the custody and control of

SunTrust Bank, by means of materially false and fraudulent pretenses, representations, and

promises, and material omissions, by cashing and causing to be cashed check 1259 drawn on

SunTrust account number xxxxx4100 in the name ofL.F., payable to Anthony Johnson, in the

amount of $4,350.00, at a SunTrust branch in Potomac, Maryland.




18 U.S.C. 9 1344
18 U.S.C. 92




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                                         COUNT EIGHT

       The Grand Jury for the District of Maryland further charges that:

        1.       Paragraphs 1, 3, and 7 of Count One are incorporated here.

       2.        On or about April 4, 2012, in the District of Maryland and elsewhere, the

defendant,

                                  PAUL ANTHONY WILSON,

did knowingly, transfer, possess and use, without lawful authority, a means of identification of

another person, that is, the name, address and bank account number ofL.F., during and in

relation to a felony violation, that is, conspiracy to commit bank fraud, in violation of Title 18,

United States Code, Section 1349, as charged in Count One of this Indictment, and bank fraud, in

violation of Title 18, United States Code, Section 1344, as charged in Count Seven of this

Indictment.




18 U.S.C.     S 1028A
18 U.S.C.     S2




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                              COUNTS NINE THROUGH ELEVEN

        The Grand Jury for the District of Maryland further charges that:

        1.        Paragraphs 1, 2, 5, 6, and paragraph 8, Overt Acts F through H of Count One are

incorporated here.

        2.        On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant,

                                JAY AD ZAINAB ~STER CONTEH,

did intentionally exceed authorized access and thereby obtain information contained in a

financial record of a financial institution.


        COUNT                 DATE                           DESCRIPTION

             9             April 2, 2012       Capital One account number xxxxxx4482 in
                                               the name ofE.Q.

             10            April 3, 2012       Capital One account number xxxxxx4482 in
                                               the name ofE.Q.


             11            April 5, 2012       Capital One account number xxxxxx4482 in
                                               the name ofE.Q.



18 U.S.C.    S1030(a)(2)(A)
18 U.S.C.    S2




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                                 FORFEITURE ALLEGATION

       The Grand Jury for the District of Maryland further charges that:

       1.      Pursuant to Fed. R. Crim. P. 32.2 notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with Title 18, United

States Code, Section 982(a)(2), in the event of the defendant's convictions under Counts One

through Five, Seven, and Nine through Eleven of this Indictment.

                                      Bank Fraud Forfeiture

       2.      As a result of the offenses set forth in Counts One through Five, Seven, and Nine

through Eleven of this Indictment, the defendants,

                             JAY AD ZAINAB ESTER CONTEH, and
                                  PAUL ANTHONY WILSON,

shall forfeit to the United States, pursuant to 18 U.S.C.   S 982(a)(2),   all property constituting, or

derived from, proceeds obtained, directly or indirectly, as a result of such violation (Counts One

through Five and Nine through Eleven as to defendant CONTEH, and Counts One through Five

and Count Seven as to defendant WILSON). The property to be forfeited includes, but is not

limited to, the following:

                a.      All monies constituting proceeds obtained, directly or indirectly, as a

result of such violations.

                b.      If more than one defendant is convicted of an offense, the defendants so

convicted are jointly and severally liable.




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                                               Substitute Assets

        3             If any of the property described above in paragraph 2 above as being subject to

 forfeiture, as a result of any act or omission of any defendant --

                      a.     cannot be located upon the exercise of due diligence;

                      b.      has been transferred or sold to, or deposited with, a third person;

                      c.     has been placed beyond the jurisdiction of the Court;

                      d.     has been substantially diminished in value; or,

                      e.     has been commingled with other property which cannot be subdivided

                             without difficulty;

 it is the intent of the United States, pursuant to 21 U.S.c.      S 853(p),   to seek forfeiture of any other

 property of said defendants, including the property described in paragraph 2 above, up to the

 value of any forfeitable property.




 18 U.S.C.    S 982(a)(2)

                                                         ~<sd)).~~~
                                                         Rod J. Rosenstein
                                                         United States Attorney

 A TRUE BILL:

SIGNATURE REDACTED
 Foreperson


    "3vf\e.     L.j        20\2
 Date



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